     Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 1 of 16




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

WSOU INVESTMENTS LLC D/B/A             §
BRAZOS LICENSING AND                   §   C.A. NO. 6:20-cv-00487-ADA
DEVELOPMENT,                           §   C.A. NO. 6:20-cv-00488-ADA
                                       §   C.A. NO. 6:20-cv-00489-ADA
                    Plaintiff,         §   C.A. NO. 6:20-cv-00490-ADA
                                       §   C.A. NO. 6:20-cv-00491-ADA
v.                                     §   C.A. NO. 6:20-cv-00493-ADA
                                       §   C.A. NO. 6:20-cv-00494-ADA
ZTE CORPORATION,                       §   C.A. NO. 6:20-cv-00495-ADA
                                       §   C.A. NO. 6:20-cv-00496-ADA
                    Defendant.         §   C.A. NO. 6:20-cv-00497-ADA
                                       §
                                       §   JURY TRIAL DEMANDED
                                       §
                                       §
                                       §

ZTE CORPORATION’S REPLY BRIEF IN SUPPORT OF ITS MOTION TO STRIKE
         PLAINTIFF’S FINAL INFRINGEMENT CONTENTIONS
       Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 2 of 16




                                               TABLE OF CONTENTS


I.      WSOU FAILED TO CURE THE DEFICIENCIES WITHIN ANY OF ITS
        INFRINGEMENT CONTENTIONS.................................................................................. 1

II.     WSOU’S INFRINGEMENT CONTENTIONS REMAIN DEFICIENT ........................... 2

        A.        The Infringement Contentions Fail to Provide Notice of the Infringement
                  Theories and Notice of the Named Accused Products............................................ 3

                  1.         The Contentions Use Improper Broad Allegations Untethered to
                             the Charted Accused Product ...................................................................... 4

                  2.         The Contentions Fail to Properly Identify a Representative Product ......... 4

        B.        The Infringement Contentions Fail to Disclose WSOU’s Doctrine of
                  Equivalent Theories and Fail to Identify Means-Plus Function Limitations .......... 8

III.    WSOU FAILS TO JUSTIFY RESETTING FACT DISCOVERY BY ADDING
        MORE THAN 400 NEW ACCUSED PRODUCTS .......................................................... 8

IV.     CONCLUSION ................................................................................................................. 10




                                                                 i
     Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 3 of 16




                               TABLE OF EXHIBITS

     Exhibit                                  Document
1               WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-487, Complaint, Dkt. 1
2               WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-488, Complaint, Dkt. 1
3               WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-489, Complaint, Dkt. 1
4               WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-490, Complaint, Dkt. 1
5               WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-491, Complaint, Dkt. 1
6               WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-492, Complaint, Dkt. 1
7               WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-493, Complaint, Dkt. 1
8               WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-494, Complaint, Dkt. 1
9               WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-495, Complaint, Dkt. 1
10              WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-496, Complaint, Dkt. 1
11              WSOU Investments, LLC. d/b/a Brazos Licensing and Development v. ZTE
                Corporation, 6:20-cv-497, Complaint, Dkt. 1
12              Exhibit C: Brazos Proposed Preliminary List - Reasonably Similar Products
                as of April 28, 2022
13              May 23, 2022 Letter from ZTE to Brazos RE Infringement Contentions
14              May 12, 2022 Discovery Hearing Transcript
15              Brazos’ First Amended Final Infringement Contentions -487
16              Brazos’ First Amended Final Infringement Contentions -488
17              Brazos’ First Amended Final Infringement Contentions -489
18              Brazos’ First Amended Final Infringement Contentions -490
19              Brazos’ First Amended Final Infringement Contentions -491
20              Brazos’ First Amended Final Infringement Contentions -493
21              Brazos’ First Amended Final Infringement Contentions -494
22              Brazos’ First Amended Final Infringement Contentions -495
23              Brazos’ First Amended Final Infringement Contentions -496
24              Brazos’ First Amended Final Infringement Contentions -497


                                           ii
     Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 4 of 16




25              Detailed Table of WSOU’s Newly Added Accused Devices
26              Brazos’ Final Infringement Contentions -487
27              Brazos’ Final Infringement Contentions -488
28              Brazos’ Final Infringement Contentions -489
29              Brazos’ Final Infringement Contentions -490
30              Brazos’ Final Infringement Contentions -491
31              Brazos’ Final Infringement Contentions -493
32              Brazos’ Final Infringement Contentions -494
33              Brazos’ Final Infringement Contentions -495
34              Brazos’ Final Infringement Contentions -496
35              Brazos’ Final Infringement Contentions -497
36              [New] Federal Communications Commission November 25, 2022 Press
                Release, “FCC Bans Equipment Authorizations for Chinese
                Telecommunications and Video Surveillance Equipment Deemed to Pose a
                Threat to National Security.”
37              [New] Modified Exhibit 25 with WSOU’s proposed 400+ new devices from
                First Amended Final Infringement Contentions




                                          iii
     Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 5 of 16




I.     WSOU FAILED TO CURE THE DEFICIENCIES WITHIN ANY OF ITS
       INFRINGEMENT CONTENTIONS

       All of the infringement contentions fail to satisfy this Court’s standard for providing

sufficient notice of the pending infringement theories. This Court’s standing orders “protect[ ]

defendants from frivolous plaintiffs who seek settlements based not on merit but based on the

burden of discovery.” CPC Patent Technologies Pty Ltd. V. HMD Global Oy, 6-21-cv-00166

(W.D. Tex. August 31, 2022). Among other requirements, this Court implements a “higher

standard” for final infringement contentions requiring that a patentee specify where and how each

limitation of each asserted claim is found in each accused instrumentality. IGT v. Zynga Inc., 2022

WL 606719, at *2 (W.D. Tex. Mar. 1, 2022). And Texas courts routinely find that the “catch-all”

language WSOU relies on fails to provide notice of plaintiff’s infringement theories. Sol IP, LLC

v. AT&T Mobility LLC, 2020 WL 1911388, at *3 (E.D. Tex. Apr. 20, 2020). These requirements

exist “not only so that [accused infringers] can properly respond to the claims against them, but so

that the Court can make a principled decision on whether discovery will proceed.” Geovector

Corp. v. Samsung Elecs. Co., 2017 WL 76950, at *5 (N.D. Cal. Jan. 9, 2017).

       The contentions, however, fail to satisfy this Court’s, or any other noted district court’s

standards for final infringement contentions. Much like the OnePlus case, WSOU’s contentions

here yet again consist almost entirely of boilerplate recitations of claim elements, unexplained

screenshots or webpage excerpts, and irrelevant marketing and public source code cross-

references. WSOU Investments LLC v. OnePlus Tech. (Shenzhen) Co., Ltd., 2022 WL 174517 at

*2 (W.D. Tex. 2022). Not only do the contentions fall short on a limitation-by-limitation basis for

the four charted products, but the contentions further fail to explain how those four products are

representative of the other 70 Accused Products (or the 400+ other devices WSOU seeks to add




                                                 1
      Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 6 of 16




on the eve of the close of fact discovery). Thus, to “protect” ZTE from improper motives, not based

on merit but based on the burden of discovery, the contentions must be struck.

       In the unlikely event that this Court permits WSOU to amend its Final contentions by

increasing fact discovery nearly five-fold (with 400+ new devices) with less than a month

remaining of fact discovery, then ZTE requests that the Court provide the parties the same reset of

fact discovery ordered in the Google cases, to permit WSOU’s untimely discovery expansion and

permit the parties sufficient time to address inevitable discovery disputes (such as the FCC’s recent

ban on all sales of ZTE devices). See WSOU Investments LLC v. Google LLC, Case No. 6:20-cv-

00572-ADA, Dkt. 126 (W.D. Tex., August 15, 2022); see also Ex. 36 (FCC November 25 ban).

II.    WSOU’S INFRINGEMENT CONTENTIONS REMAIN DEFICIENT 1

       WSOU musty identify specifically where each limitation of each asserted claim is found

within each Accused Product. Courts require “the party claiming infringement to crystalize its

theories of the case early in the litigation and to adhere to those theories once disclosed.” Bender

v. Advanced Micro Devices, Inc., 2010 WL 363341, at *1 (N.D. Cal. Feb. 1, 2010). And the degree

of specificity “must be sufficient to provide reasonable notice to the [accused infringer] why the

[patentee] believes it has a ‘reasonable chance of proving infringement.’” Shared Memory

Graphics LLC v. Apple, Inc., 812 F. Supp. 2d 1022, 1025 (N.D. Cal. 2010) (internal cites omitted).

       Yet, despite this obligation, every version of the contentions fails to identify an

infringement theory on a limitation-by-limitation basis for even a single product, much less every


1
  WSOU erroneously implies that ZTE’s counsel noted timely service of the Final Infringement
Contentions. Opp., p. 3 (arguing that ZTE acknowledged the contentions were “served ‘last night,’
i.e., on July 16”). In truth, ZTE’s counsel never confirmed a timely service, and stated the opposite
that ZTE was “unable to access the final infringement contentions.” Id. ZTE never represented
timely service by the July 16 deadline. See, e.g., Opp., Ex. 1; Motion to Strike, Ex. 13, p. 1
(regarding deficiencies in infringement contentions “served on July 17, 2021”). And for the lone
added product from the July 17th Final Infringement Contentions, the Axon 30 Ultra, ZTE has
consistently maintained that it is not an Accused Product—and WSOU failed to address this issue.


                                                 2
     Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 7 of 16




Accused Product (or even the 400+ new devices WSOU seeks to untimely add on the eleventh

hour). Instead, WSOU lumps the accused products into alleged representative charts for the eleven

different patents for just four products that similarly fail to identify an infringement theory on a

limitation-by-limitation basis for any of them. See Motion to Strike, p. 5. This improper grouping

obscures deficiencies such as: (1) WSOU’s improper use of broad and generic allegations that bear

no link to the products; (2) WSOU’s failure altogether to identify alleged for the “representative”

products; and (3) WSOU’s repeatedly copying and pasting of the same irrelevant materials as

“support” for disparate claim limitations without tying the evidence to each limitation at issue.

       Further yet, in opposition, WSOU misapplies the law, and contorts the language of its own

contentions in an endeavor to overcome the reality that its contentions fail to provide sufficient

notice of its infringement theories (or even which devices are named Accused Products). The

barebone revisions WSOU identifies in any of its amendments fail to move the needle closer to

crystalizing WSOU’s infringement theories on a limitation-by-limitation basis, but rather, act as a

smoke screen concealing WSOU’s improper attempts to add more than 400 new devices to these

cases on the eve of closing fact discovery. For these reasons, WSOU’s contentions are insufficient

and should be stricken without leave to amend.

       A.      The Infringement Contentions Fail to Provide Notice of the Infringement
               Theories and Notice of the Named Accused Products

       Rather than crystalize its infringement theories by identifying which components of a

single representative Accused Product allegedly infringe on a limitation-by-limitation basis of the

claim elements, WSOU insists that its cherry-picking of components spread across nearly 75

devices (and up to 475 devices) satisfies the notice requirement for a single contention chart. See

Zipit Wireless Inc. v. Blackberry Ltd., 2016 WL 5933975, *7 (D.S.C. Oct. 12, 2016) (quoting L &

W. Inc. v. Shertech, Inc., 471 F.3d 1311 (Fed. Cir. 2006), plaintiff “cannot cherry-pick”). And, for



                                                 3
     Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 8 of 16




the uncharted “similar” devices, WSOU insists on illogical gymnastics to improperly connect the

four charted products and the 475+ uncharted products. Despite WSOU’s allegations otherwise, it

fails to show that a single chart for a single Accused Product is sufficient, much less that all 475+

accused devices are either charted or represented by a charted product.

               1.      The Contentions Use Improper Broad Allegations Untethered to the
                       Charted Accused Product

       All versions of the contentions remain deficient for the same reason: lacking analysis

connecting the claim limitations to products. For each claim, WSOU merely pastes screenshots

and parrots claim language without offering analysis tethering the product to claim elements. And

the remaining analysis consists of bare cross-references without addressing the many additional

element limitations. The contentions are formulaic lacking true analysis. Each claim’s “analysis”

follows the very same pattern of stating boilerplate conclusory statements about direct and indirect

infringement, followed by verbatim recitation of the claim element, and a broad conclusory

statement alleging connection between the ZTE device and third-party components or standards.

Then, the “analysis” jumps to generic marketing, screen shots, and public source code data dumps

without explanations or comparison between the claim elements and the products. These broad

and generic contentions are an impermissible attempt to dodge and should be struck.

               2.      The Contentions Fail to Properly Identify a Representative Product 2

       The contentions are fundamentally flawed because they improperly cherry-pick and lump

together numerous disparate products without identifying an infringement theory for a single

accused product on a limitation-by-limitation basis. A patentee may only rely on “representative



2
  In opposition, WSOU alleges that ZTE “did not object to the definition of Accused Products or
Accused Instrumentalities” until filing this Motion to Strike. Opp., pp. 3-4. In truth, ZTE raised
issues of the scope of WSOU’s Accused Products on multiple occasions including by letter on at
least October 20, 2021; April 15, 2022; May 23, 2022; and July 15, 2022.


                                                 4
     Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 9 of 16




charts” if it meets its burden of showing that any uncharted product operates in the same way as a

charted product and meet the limitations for the same reasons. See CAP Co. v. McAfee, Inc., No.

14-cv-05068-JD, 2015 WL 4734951, at *2 (N.D. Cal. Aug. 10, 2015). This analysis, however,

requires support and “cannot just be based on the patentee’s say-so.” Silicon Labs., Inc. v. Cresta

Tech. Corp., 2015 WL 846679, at *2 (N.D. Cal. Feb. 25, 2015).

       Many of the accused devices that WSOU argues are “described in Brazos’s claim charts,”

are not actually charted on a limitation-by-limitation basis. For example, WSOU claims that the

ZXR10 5900E product is as an exemplary product, but the contentions merely describe a single

feature within a few different claim limitations—the product is not actually charted by limitation:




Motion to Strike, Ex. 26.

       WSOU fails to demonstrate how any charted product is representative of any others beyond

its own say so. The burden is on WSOU to prove that its “representative” products share the same

critical characteristics. See CAP, 2015 WL 4734951 at *2. This, however, requires support and

“cannot just be based on the patentee’s say-so.” Id.; Silicon Labs., 2015 WL 846679 at *2; see also

Uniloc., 2018 WL 3219486, *3 (N.D. Cal. July 2, 2018) (noting that the patent owner “must

explain how its laundry list of accused products operate in the same manner for infringement

purposes”). WSOU’s infringement contentions fail to specify how its “representative” products

are representative of the hundreds of uncharted products; as the contentions improperly combine

a multitude of products and third-party Android apps, all with very different features,


                                                5
    Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 10 of 16




functionalities, components, and purposes. WSOU’s attempt to consolidate all of these different

products together into one theory of infringement is impermissible, and WSOU’s cherry-picking

selective inclusion of certain devices to exemplify a subpart of a limitation does not amount to

proper charting of a single representative Accused Product.

       In opposition, WSOU relies on Team Worldwide, arguing that “[c]ourts do not require that

each and every instrumentality be charted.” Opp., p. 7, n. 6, quoting Team Worldwide Corp. v.

Academy, LTD, 2020 WL 4601635 at *4 (E.D. Tex. 2020). There, however, the court distinguishes

itself from cases that “were directed to complex computer technology” because “the technology,

claims, and infringement theory in this case are simple.” Id. at *4. In contrast, here, the technology

relates to complex computer technology—far more intricate than the air mattress pumps at issue

in Team Worldwide Corp. Similarly, WSOU’s string cite in support of the proposition that

“analogous products may be grouped together for a number of reasons” contains inapposite or

readily distinguishable caselaw. Opp., pp. 9-10. 3

       The contentions are deficient under any standard, and certainly deficient under this Court’s

standard. For instance, in Zynga this Court held that “a higher standard of detailing claim charts

with specific descriptions of how each product is represented by a single charted product applies




3
  Four of the cases regard the disposition of a motion for summary judgement where the movant
carried the burden—not a motion to strike infringement contentions where WSOU carries the
burden to demonstrate its contentions provide sufficient notice of the infringement theories. See
Endo Pharms. Inc. v. Amneal Pharms., LLC, No. 12 Civ. 8060, 2015 WL 9459823, at *36-37
(S.D.N.Y. Aug. 18, 2015), amended in part, No. 12 Civ. 8060, 2016 WL 1732751 (S.D.N.Y. Apr.
29, 2016); ASUS Computer International v. Round Rock Research, LLC, 2013 WL 5545276, *2-
*4 (N.D. Cal. 2013); Network Protection Sciences, LLC v. Fortinet, Inc., 2013 WL 5402089, *2-
*4 (N.D. Cal. 2013); Hid Glob. Corp. v. Farpointe Data, Inc., No. SACV101954JVSRNBX, 2012
WL 13018341, at *3 (C.D. Cal. Apr. 13, 2012). The remaining cases were denied due to either
untimely objections—but ZTE timely raised objections to the contentions here (Kenexa Brassing,
Inc. v. Taleo Corp., 2010 WL 4668999, *6 (D. Del. 2010)), or due to a failure to any objection at
all (Parkervision, Inc. v. Qualcomm Inc., 2015 WL 4751354, at *4 (M.D. Fla. Aug. 11, 2015)).


                                                  6
    Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 11 of 16




to a plaintiff’s final infringement contentions.” Zynga, 2022 WL 606719 at *2 (emphasis added).

Courts routinely find that the “catch-all” language WSOU relies on is contrary to local rules and

fails to provide notice of plaintiff’s infringement theories. Sol IP, 2020 WL 1911388 at *3. Here,

WSOU’s Final infringement contentions fail to satisfy the “higher standard” of detailing how each

of the accused products is represented by each charted product, and WSOU fails to prove that any

Accused Product is representative of the other uncharted products.

       This Court already cautioned WSOU against its barebone style of contentions and failures

to properly disclose representative products in the OnePlus cases. In fact, this Court already

instructed WSOU that products that were “identified outside of the claim charts within the

infringement contentions” are not properly charted because such action does not provide defendant

with notice of WSOU’s theory as to how each of those accused device allegedly infringes. OnePlus

Tech., 2022 WL 174517 at *2 (“[I]n an effort to provide fair notice and fulsome, albeit repetitive

responses in WSOU's eyes, WSOU must more fully explain why the charted product is

representative of each individual uncharted product or chart each product individually”).

       WSOU erroneously attempts to distinguish its contentions here from its deficient

contentions in the OnePlus cases. See Opp., p. 19. But, although the Court ultimately denied

OnePlus’ motion to strike the preliminary contentions (as non-Final), the Court’s findings there

still apply as the Court “agree[d] with OnePlus’s characterizations regarding the… doctrine of

equivalents claims” and explicitly reserved an opportunity for OnePlus to file another motion to

strike after WSOU provides its final infringement contentions. OnePlus, 2022 WL 174517 at *3.

In the case at hand—which is well past the preliminary infringement contentions stage—all

versions of the contentions still contain the same deficiencies that the OnePlus court noted. Thus,

for the same reasons, the Court should strike these boilerplate contentions.




                                                 7
       Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 12 of 16




         B.     The Infringement Contentions Fail to Disclose WSOU’s Doctrine of
                Equivalent Theories and Fail to Identify Means-Plus Function Limitations 4

         WSOU improperly seeks to delay disclosing its doctrine of equivalents theories of

infringement until the close of expert discovery. See Opp., p. 13-14. In lieu of providing notice of

how the accused products allegedly infringe under the doctrine of equivalents, WSOU simply

includes boilerplate language throughout each of its claims—not just the preamble. See, e.g., Ex.

13, pp. 17, 30, 48, 79, 95, 108, 120, 133, 145, 159, 172, 179 (compare Ex. 30 with same). And it

is “improper to assert the doctrine of equivalents with generic ‘placeholder’ language on the hope

that future discovery might support such an assertion.” Finjan, 2015 WL 1517920 at *10; see also

Uniloc, 2018 WL 3219486 *4. In fact, “[s]imply stating that the patentee intends to assert the

doctrine of equivalents as an alternative theory does not ‘provide reasonable notice to the defendant

why the plaintiff believes it has a reasonable chance of proving infringement.’” Shared Memory,

812 F. Supp. 2d at 1025. WSOU cannot “merely add boilerplate language asserting that the

doctrine of equivalents has been met as an alternative theory.” Creagri, Inc. v. Pinnaclife Inc.,

LLC, 2012 WL 5389775 at *6 (N.D. Cal. 2012). Rather, WSOU must specify in what way the

products allegedly infringe under the doctrine of equivalents. See id.

III.     WSOU FAILS TO JUSTIFY RESETTING FACT DISCOVERY BY ADDING
         MORE THAN 400 NEW ACCUSED PRODUCTS

         WSOU’s untimely attempt on the eleventh hour of fact discovery (after failing altogether

to meet-and-confer on these issues) 5 to amend its final contentions is primarily a request to reset


4
  WSOU argues that the disputes for case nos. -488 and -496 are moot because “the patents have
been invalidated.” Opp., p. 2. These cases, however, remain active primarily due to WSOU’s
refusal to stay the cases pending the post-grant proceedings, and WSOU continued to seek
discovery for these cases until at least October 28, 2022—well after ZTE’s October 21st filing
herein. And ZTE’s arguments pertaining to the means-plus-function claims of case no. -496
remains unmooted until the case is dismissed with prejudice.
5
  WSOU fails to acknowledge its own improper duplicitous behavior, and instead alleges
wrongdoing by ZTE for following the appropriate procedures of first meeting before filing.


                                                 8
    Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 13 of 16




fact discovery with more than 400 new products disguised as an update to the underlying

contentions. In response, WSOU argues that that the 475+ devices it now seeks to add are

connected in some web of categories because the products are: (A) “part of a series,” (B) “same

device, same model, different version,” (C) “same device, different model,” or (D) “reasonably

similar,”—but WSOU fails to offer concrete logical definitions for its made-up categories. 6 More

so, WSOU offers no explanation for why it failed to offer these new devises for consideration

during the May 12th hearing (Dkt. 222). None of these devices are new—WSOU simply failed to

raise them before and should not be allowed to add them now on the eve of close of fact discovery.

       Most courts do not permit such “broad categorical identifications”—like “mobile devices

running Android,” “mere representative examples,” or the ability to identify accused products “by

functionality.” See, e.g., Vigilos LLC v. Sling Media Inc., No. C-11-04117 SBA (EDL), 2012 WL

9973147, at *4 (N.D. Cal. July 12, 2012); Oracle Am., Inc. v. Google Inc., No. C 10-03561 WHA,

2011 WL 4479305, at *3 (N.D. Cal. Sept. 26, 2011). Instead, a “full list of accused products must

be disclosed as part of a party’s infringement contentions.” Id. at *2. WSOU’s broad categorical

identifications and improper use of open-ended language (“any variants of”) should be stricken.

See Uniloc, 2018 WL 3219486 *3 (finding that “use of strategic open-ended language is

improper.”) And WSOU’s allegations should be limited to the products specifically identified in

the preliminary infringement contentions or specifically listed for the May 12th hearing. See

Motion to Strike, p. 5 and Ex. 25; see also Ex. 37.




Compare Opp., p. 1 with Motion to Strike, n. 1. Not only did WSOU fail to meet on its own
duplicitous motion, but it purposefully delayed this motion in a race to the courthouse. Id.
6
  In opposition, WSOU alleges that ZTE “admits” that four groups of products are charted. Opp.,
p. 1-2. In truth, ZTE stated that 4 different accused devices were charted, but done so improperly.
See Motion to Strike, pp. 13-14. Nowhere does ZTE state that “groups of products” were charted.

                                                 9
      Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 14 of 16




          WSOU must do more than state these products are similar, as a “patentee must state how.”

Silicon Labs, 2015 WL 846679 at *2. With respect to WSOU’s “categories,” (Dkt. 288, Exs. 7-8):

      •   WSOU merely states that devices such as “Axon 30 Ultra Aerospace,” and “Axon 30
          Ultimate Edition,” are “part of a series,” but WSOU fails to analyze or show how the
          devices have similar hardware or software components operating in a similar fashion with
          respect to the claim limitations at hand. These devices in fact have very different features,
          functionalities, components and purposes.
      •   Next, WSOU argues that devices like “Blade X1” and “Blade X9” are the “same device,
          same model, [but] different version,”—but WSOU again fails to explain how these devices
          are (1) the same device, (2) the same model, (3) or even similar “versions” of each other.
          A moniker such as “iPhone” or “Blade” is hardly a sufficient basis to show how an “iPhone
          2” is similar to the “iPhone 14” as WSOU seeks here to argue with the “Blade” moniker.
      •   More so, as another example of WSOU’s ill-conceived “categories,” WSOU offers no
          explanation for how “Blade X1,” is the same model as “Blade X9,” but “Axon 40 Ultra
          5G,” is a different model from “Axon 41 Ultra 5G.”
      •   And lastly, WSOU refuses altogether to explain how its “reasonably similar products” are
          similar to either each other or any other device. WSOU fails to distinguish these
          “categories” and the underlying devices therein by something other than its own arbitrary
          terms—WSOU fails to show how the devices have similar hardware or software
          components operating in a similar fashion with respect to the claim limitations at hand (and
          thus should not be added to these cases).

          In the unlikely event that this Court permits the addition of 400+ new devices on the

eleventh hour, thereby effectively resetting fact discovery, then this Court must reset the schedule

accordingly to permit sufficient time for discovery (and the inevitable discovery disputes). The

Court already granted such a relief and extension in the Google cases where it effectively reset fact

discovery after granting WSOU’s eleventh hour request to expand discovery over newly added

devices. See Google, No. 6:20-cv-00572, Dkt. 126. Such an extension is even more appropriate

here to permit efficient resolution of discovery issues stemming from the November 25, 2022,

FCC prohibition of the sale of ZTE devices in the United States. Ex. 36 (FCC November 25 ban).

IV.       CONCLUSION

          For the above reasons, WSOU’s contentions should be struck with prejudice.




                                                   10
   Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 15 of 16




DATED: November 29, 2022                 Respectfully submitted,


                                         /s/ Lionel M. Lavenue
                                         Lionel M. Lavenue
                                         Virginia Bar No. 49,005
                                         lionel.lavenue@finnegan.com
                                         FINNEGAN, HENDERSON, FARABOW,
                                         GARRETT & DUNNER, LLP
                                         1875 Explorer Street, Suite 800
                                         Reston, VA 20190
                                           Phone: (571) 203-2700
                                           Fax:     (202) 408-4400

                                         Attorney for Defendant,
                                         ZTE Corporation




                                    11
    Case 6:20-cv-00491-ADA-DTG Document 262 Filed 11/29/22 Page 16 of 16




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on November 29, 2022.

                                                            /s/Lionel M. Lavenue
                                                            Lionel M. Lavenue




                                               12
